Case 2:24-cv-08137-PA-AGR         Document 1       Filed 09/23/24     Page 1 of 23 Page ID #:1



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   6

   7                            UNITED STATES DISTRICT COURT
   8                          CENTRAL DISTRICT OF CALIFORNIA
   9
  10    JASON DUCHAN                                  CASE NO. 24-cv-8137
                                                      Civil Rights
  11          Plaintiff,
                                                      COMPLAINT FOR PRELIMINARY
  12                                                  AND PERMANENT INJUNCTIVE
                                                      RELIEF AND DAMAGES
  13          v.                                      REGARDING DENIAL OF SERVICE
                                                      DOG AND HANDLER TO EQUALLY
  14                                                  USE AND ENJOY PUBLIC
                                                      ACCOMMODATION:
  15
        PI-AQUA, INC. dba NORTH                       1. Violations of Americans with
  16    HOLLYWOOD SPA                                       Disabilities Act of 1990 (42 U.S.C. §
                                                            12101 et seq.)
  17
              Defendant.                              2. Violation of the California Unruh Act
  18                                                        (Cal. Civil Code §§ 51 and 52)
  19                                                  3. Violation of the California Disabled
                                                            Persons Act (Cal. Civil Code § 54 et
  20                                                        seq.)
  21
                                                      DEMAND FOR JURY TRIAL
  22

  23         1.     PREFETORY STATEMENT: This is Plaintiff’s first and currently
  24   only Americans with Disabilities Act (“ADA”) lawsuit. It does not involve any
  25   architectural barriers, only service dog denial claims. Plaintiff’s law firm is not a
  26   high frequency litigation firm, filing approximately nine cases this year to date in
  27   this District. Rein & Clefton represents many different disabled plaintiffs, none of
  28   whom are high frequency litigants as defined by state law, and many of whom, like

                                                        1
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1      Filed 09/23/24     Page 2 of 23 Page ID #:2



   1   Plaintiff, are seeking representation for ADA claims for the first time. Plaintiff
   2   JASON DUCHAN complains of Defendant PI-AQUA, INC. dba NORTH
   3   HOLLYWOOD SPA and alleges as follows:
   4         2.     INTRODUCTION: On or about August 17, 2024, Defendant denied
   5   disabled Plaintiff Jason Duchan services and admittance to it’s spa and recreation
   6   facility because he is a disabled individual who uses a task trained service dog to
   7   ameliorate his disability. Despite the fact that Plaintiff informed Defendant that his
   8   dog is a trained medical alert service dog, Defendant told Plaintiff that it does not
   9   allow dogs of any kind at the North Hollywood Spa. Then, Defendant told Plaintiff
  10   that theys do not allow any disabled people inside the North Hollywood Spa. When
  11   Plaintiff balked at this blatant discrimination, Defendant’s employee told Plaintiff
  12   that the North Hollywood Spa is a “private club” so they can exclude disabled
  13   people if they choose to. This statement horrified Plaintiff and made him like a
  14   second-class customer and unable to enjoy the Spa like everyone else. Despite the
  15   vitriol that Defendant was spewing at Plaintiff, Plaintiff’s service dog Roxie
  16   remained calm and performed her tasks as necessary. At no time did Defendant
  17   inquire as to the tasks that Roxie is trained to perform for Plaintiff’s disability.
  18         3.     Plaintiff thought that Defendant’s initial denial of his service dog at the
  19   North Hollywood Spa may have simply been the result of a rogue employee who
  20   lacked training on the issues surrounding disabled access. On September 1, 2024,
  21   Plaintiff returned to North Hollywood Spa to try again to use the facilities with his
  22   service dog. However, he was met with the same denial of services that he
  23   experienced previously.
  24         4.     Defendant refused to serve Plaintiff and allow him to enjoy the
  25   facilities at the North Hollywood Spa located at 5636 Vineland Ave, North
  26   Hollywood, California, with his service dog. As a result, Plaintiff was denied
  27   service by Defendant because of his disability because he needs his service dog to
  28   equally enjoy the premises compared with non-disabled persons. Plaintiff was

                                                     2
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1       Filed 09/23/24     Page 3 of 23 Page ID #:3



   1   devastated by his interactions with Defendant.
   2          5.     Defendant’s decision to bar Plaintiff from entry because of his service
   3   dog contravenes the ADA’s mandate to allow disabled persons equal enjoyment of
   4   the facility and the Department of Justice’s technical assistance and guidance on the
   5   subject of “Service Animals.” In relevant part, the guidance states:
   6      •   A person with a disability cannot be asked to remove his service
   7          animal from the premises unless: (1) the dog is out of control and the
   8          handler does not take effective action to control it or (2) the dog is not
   9          housebroken. When there is a legitimate reason to ask that a service
  10          animal be removed, staff must offer the person with the disability the
  11          opportunity to obtain goods or services without the animal’s presence.
  12   DOJ 2010 “Service Animal” guidance available at
  13   https://www.ada.gov/resources/service-animals-2010-requirements/ (emphasis
  14   added).
  15          6.     On August 17, 2024, and September 1, 2024, Defendant refused to
  16   allow Plaintiff to inside of its facility due to the presence of his task trained service
  17   dog despite that his service dog was under his control, task trained, and is
  18   housebroken. Further, Defendant did not cite either of those as reasons for refusing
  19   service to Plaintiff. Defendant simply told Plaintiff that service dogs and disabled
  20   individuals were not allowed to access the facilities at North Hollywood Spa.
  21   Defendant also did not offer Plaintiff the opportunity to enter the facility without
  22   the presence of his service dog.
  23          7.     Plaintiff is a 65-year-old gay man who recently moved to the Los
  24   Angeles area from the Bay Area. Since moving to Los Angeles, Plaintiff has been
  25   in search of community, and he has had difficulty meeting other people with similar
  26   interests. Further, as a result of his disability, Plaintiff finds it difficult to meet
  27   other people, particularly in crowded places like bars or dance clubs. A friend
  28   recommended that he try to meet other gay men at a spa like North Hollywood Spa,

                                                      3
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1       Filed 09/23/24     Page 4 of 23 Page ID #:4



   1   so Plaintiff thought he would give it a try. Despite the discrimination Plaintiff
   2   experienced when he attempted to enter and use the facilities at North Hollywood
   3   Spa, he still believes that meeting people at a spa will be the easiest way for him to
   4   make friends and meet other gay men. Plaintiff intends to return to the North
   5   Hollywood Spa to use the facilities and hopefully meet friends in the future but
   6   cannot do so until the policies of the spa are made accessible to disabled individuals
   7   who use service dogs, including revision of its service dog policies and necessary
   8   employee training and/or re-training. Plaintiff has brought this lawsuit to force
   9   Defendant to change its discriminatory and illegal policies and compensate him for
  10   refusing to serve him because he is a disabled person who needs the assistance of
  11   his qualified service dog. Plaintiff seeks an injunction to protect the rights of all
  12   disabled persons, including Plaintiff, when accompanied by a qualified service dog
  13   at the North Hollywood Spa.
  14          8.     JURISDICTION: This Court has jurisdiction of this action pursuant
  15   to 28 USC sections 1331 and 1343. This Court has jurisdiction over the claims
  16   brought under California law pursuant to 28 U.S.C. § 1367.
  17          9.     VENUE: Venue is proper in this court pursuant to 28 USC
  18   section 1391(b) and is proper because the real property which is the subject of this
  19   action is located in this district and that Plaintiff’s causes of action arose in this
  20   district.
  21          10.    INTRADISTRICT: This case should be assigned to the Western
  22   Division because the real property which is the subject of this action is located in
  23   this intradistrict and Plaintiff’s causes of action arose in this intradistrict.
  24          11.    PARTIES: Plaintiff Jasan Duchan is a “qualified” disabled person
  25   who uses the assistance of a service dog to ameliorate his disability. Plaintiff
  26   suffers from post-traumatic stress disorder and hypertension. Plaintiff’s disabilities
  27   stem from his experience of being the target of false accusation online and having
  28   his life threatened as a result. Due to this experience, Plaintiff has PTSD which

                                                      4
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR      Document 1       Filed 09/23/24     Page 5 of 23 Page ID #:5



   1   manifests as panic attacks and episodes of dissociation. Plaintiff has difficulty
   2   trusting people, interacting with people, and forming relationships with people.
   3   Plaintiff’s panic attacks can cause him to hyperventilate which can cause a
   4   significant rise in blood pressure. Since Plaintiff suffers hypertension, significant
   5   rises in blood pressure are dangerous to his health, and he must attempt to control
   6   those symptoms quickly.
   7         12.    Plaintiff relies upon his service dog, a lab/huskie/boxer mix named
   8   “Roxie” to assist him with certain tasks including alerting him to the onset of panic
   9   and PTSD symptoms so that he can work to calm himself with assistance from
  10   Roxie before his blood pressure rises to dangerous levels. Roxie is also trained to
  11   disrupt Plaintiff when he dissociates or freezes. In order to alert Plaintiff to and
  12   disrupt these behaviors, Roxie is trained to stand on her hand legs and put her front
  13   paws around Plaintiff to “hug” him. Roxie and Plaintiff worked with a professional
  14   trainer in order to train Roxie to perform these tasks. Roxie was professionally
  15   trained to be a service dog, and she and Plaintiff have been working together for 11
  16   years. Additionally, Plaintiff continues to reinforce the training with Roxie daily.
  17   Plaintiff is a qualified person with a disability as defined under federal and state law
  18   who is substantially limited in the major life activities of interacting with other
  19   people, regulating emotions, and being out in public places. 42 U.S.C. § 12102, 29
  20   U.S.C. § 705(9)(B), and California Government Code § 12926(1).
  21         13.    Defendant PI-AQUA, INC. dba NORTH HOLLYWOOD SPA, are
  22   and were at all times relevant to this Complaint the owners, operators, lessors
  23   and/or lessees of the subject business located at 5636 Vineland Ave, North
  24   Hollywood, California, known as the North Hollywood Spa (“The Spa”).
  25         14.     The spa is a place of “public accommodation” and a “business
  26   establishment” subject to the requirements inter alia of the categories of 42 U.S.C.
  27   section 12181(7) of the Americans with Disabilities Act of 1990, of California Civil
  28   Code sections 51 et seq., and of California Civil Code sections 54 et seq.

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                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR      Document 1       Filed 09/23/24     Page 6 of 23 Page ID #:6



   1         15.    FACTUAL STATEMENT: Plaintiff Jason Duchan has been
   2   working with his service dog Roxie for approximately eleven years. Roxie is a
   3   lab/huskie/boxer mix who was professionally trained to be a service dog. Plaintiff
   4   has also trained and continues to train Roxie to serve his specific needs throughout
   5   their relationship. Roxie is specifically trained to assist Plaintiff by alerting him to
   6   the onset of panic and PTSD symptoms so that he can work to calm himself with
   7   assistance from Roxie before his blood pressure rises to dangerous levels. Roxie is
   8   also trained to alert Plaintiff of and disrupt certain behaviors associated with
   9   Plaintiff’s PTSD including hyperventilation and dissociation episodes.
  10         16.    Roxie is a working dog; she is not a pet. Roxie wears a vest
  11   identifying her as a service dog. Plaintiff and Roxie have trained extensively
  12   together, and they supplement that training daily. Plaintiff takes Roxie everywhere
  13   with him in public. It is important they stay together as much as possible because
  14   (a) Roxie provides important services for Plaintiff; and (b) it is part of the training
  15   and bonding requirement that they be together constantly to maintain their bond.
  16   With few exceptions, where Plaintiff goes, Roxie goes.
  17         17.    Plaintiff recently moved to the Los Angeles area after living in San
  18   Francisco for many years. Since moving to Los Angeles, Plaintiff has found
  19   meeting people difficult. He would like to meet other gay men who have similar
  20   interests as himself. Unfortunately, Plaintiff’s disability makes it very difficult for
  21   him to meet people in bars or clubs. Plaintiff avoids crowds whenever possible.
  22   One of Plaintiff’s friends suggested that he try out one of the spa’s targeted towards
  23   gay men in the Los Angeles Area as they were a more relaxing environment to meet
  24   people. Plaintiff began researching spas online which is where he learned about the
  25   North Hollywood Spa. Plaintiff thought that the North Hollywood Spa looked like
  26   a good place for him to meet other gay men. He liked that the facility provides
  27   private rooms, which he planned to rent, so that he could escape to be by himself
  28   whenever necessary, but also had places where he could workout, enjoy

                                                     6
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR     Document 1       Filed 09/23/24     Page 7 of 23 Page ID #:7



   1   refreshment, and enjoy entertainment.
   2         18.    On or about August 17, 2024, Plaintiff decided that he was ready to try
   3   a spa. Plaintiff and Roxie drove to North Hollywood Spa and parked his car.
   4   Plaintiff and Roxie exited the vehicle, and they approached the door to the Spa.
   5   Plaintiff and Roxie entered the Spa and approached the front desk. Defendant’s
   6   employee at the front desk told Plaintiff that dogs are not allowed at the North
   7   Hollywood Spa. Plaintiff explained that Roxie is a medical alert service dog and
   8   therefore allowed to accompany him anywhere the public is to go inside of public
   9   accommodations. Defendant’s employee said no dogs, including service dogs,
  10   were allowed inside the North Hollywood Spa.
  11         19.    Plaintiff was understandably upset, and he and Roxie turned around
  12   and walked out the door. However, Plaintiff was only outside for about 30 seconds
  13   when he decided to go back inside. He was determined to convince the man to
  14   allow him inside with his service dog. Plaintiff explained to Defendant’s employee
  15   that Roxie ameliorates his disability in the same way that a wheelchair ameliorates
  16   a physically disabled individual. He asked Defendant’s employee whether he
  17   would deny access to a person in a wheelchair. To this, Defendant’s employee
  18   responded that disabled individuals are not allowed inside the North Hollywood
  19   Spa. Plaintiff was horrified by this response and told Defendant’s employee that
  20   such a discriminatory policy is contrary to the ADA. Defendant’s employee told
  21   Plaintiff that the North Hollywood Spa is a private club and therefore Defendant
  22   does not need to follow the ADA.
  23         20.    Plaintiff stayed for another few minutes trying to convince
  24   Defendant’s employee to allow him inside, but it soon became clear that he would
  25   never be allowed inside Defendant’s public accommodation. As Plaintiff was
  26   leaving, he told Defendant’s employee that he planned to contact an attorney
  27   regarding his denial of access to the North Hollywood Spa. Defendant’s employee
  28   told him to “go ahead and contact an attorney.” Plaintiff left in tears. Once he had

                                                    7
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR     Document 1       Filed 09/23/24     Page 8 of 23 Page ID #:8



   1   exited the building, Roxie performed her task by wrapping her front paws around
   2   Plaintiff, and he was able to calm himself down enough to drive home.
   3         21.    Plaintiff was angry about the way he had been treated at the North
   4   Hollywood Spa, and he was extremely disappointed that he was not allowed to go
   5   inside the facility to meet other patrons. Plaintiff began researching whether
   6   Defendant’s claims of being a “private club” in fact did give it permission to ignore
   7   the ADA. Plaintiff found that to determine whether a “private club” is exempt from
   8   the ADA the following criteria must be considered:
   9      • The degree to which members control club operations
  10      • The selectivity of the membership process
  11      • Whether substantial membership fees are charged
  12      • Whether the organization is operated on a nonprofit basis
  13      • To what extent the facilities are open to the public
  14      • To what extent the club receives public funding
  15      • Whether the club was created specifically to avoid compliance with civil
  16         rights laws.
  17         22.    Defendant’s “club” members have no control over club operations.
  18   Anyone who pays the fee can become a “member” of North Hollywood Spa (unless
  19   they are disabled apparently), thus there is no selective process whatsoever in order
  20   to join. The “membership fee” is $40 for five months. Defendant is a for profit
  21   company. Thus, Plaintiff concluded that Defendant’s “club” is not a private club
  22   exempt from the ADA. Even assuming it were a club, its membership is premised
  23   on avoiding allowing disabled persons to join, and avoiding compliance with the
  24   ADA, as admitted by the manager.
  25         23.    Armed with this information, Plaintiff decided to return to North
  26   Hollywood Spa to attempt to gain entry with his service dog. On September 1,
  27   2024, Plaintiff again drove to the North Hollywood Spa. He parked his vehicle,
  28   and he and Roxie entered the spa.

                                                    8
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1      Filed 09/23/24     Page 9 of 23 Page ID #:9



   1         24.    Plaintiff and Roxie approached the check-in desk. Plaintiff said I am
   2   disabled, and I have a service dog that I need. Defendant’s employee said, “no
   3   dogs allowed.” Plaintiff asked him, “what if I had a wheelchair.” Defendant’s
   4   employee repeated, “no dogs allowed.” Plaintiff asked, “not even service dogs that
   5   are specially trained?” Defendant’s employee again told Plaintiff that no dogs are
   6   allowed. Plaintiff asked Defendant’s employee why service dogs are not allowed,
   7   and Defendant’s employee responded that Defendant’s employee responded that
   8   they do not allow any dogs inside North Hollywood Spa.
   9         25.    Notably on Plaintiff’s second visit, Defendant’s employee did not
  10   claim that North Hollywood Spa is a private club or that Defendant excluded all
  11   disabled people, but it was clear to Plaintiff that he was not going to be allowed
  12   inside of North Hollywood Spa with his service, so he left the premises.
  13         26.    Plaintiff wishes to return to patronize North Hollywood Spa. He wants
  14   to try to meet people in the Los Angeles area, and he strongly believes that a spa
  15   like the one operated by Defendant would allow him to be around people again in a
  16   safe way that would not trigger his PTSD. However, Plaintiff cannot return to
  17   North Hollywood Spa until after Defendant has implemented proper service animal
  18   policies and training of its staff. Plaintiff is deterred from returning to the spa until
  19   these policies and training are in place.
  20                    FIRST CAUSE OF ACTION:
        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
  21                      (42 USC §§ 12101 et seq.)
  22         27.     Plaintiff repleads and incorporates by reference, as if fully set forth
  23   again herein, the factual allegations contained in Paragraphs 1 through 26, above,
  24   and incorporates them herein by reference as if separately repled hereafter.
  25         28.    In 1990 Congress passed the Americans with Disabilities Act after
  26   finding that laws were needed to more fully protect “some 43 million Americans
  27   with one or more physical or mental disabilities; that historically society has tended
  28   to isolate and segregate individuals with disabilities;” that “such forms of

                                                     9
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1 Filed 09/23/24           Page 10 of 23 Page ID
                                       #:10


  1   discrimination against individuals with disabilities continue to be a serious and
  2   pervasive social problem”; that “the Nation’s proper goals regarding individuals
  3   with disabilities are to assure equality of opportunity, full participation, independent
  4   living and economic self-sufficiency for such individuals”; and that “the continuing
  5   existence of unfair and unnecessary discrimination and prejudice denies people
  6   with disabilities the opportunity to compete on an equal basis and to pursue those
  7   opportunities for which our free society is justifiably famous.” 42 U.S.C. §
  8   12101(a).
  9         29.    The ADA provides, “No individual shall be discriminated against on
 10   the basis of disability in the full and equal enjoyment of the goods, services,
 11   facilities, privileges, advantages, or accommodations of any place of public
 12   accommodation by any person who owns, leases, or leases to, or operates a place of
 13   public accommodation.” 42 USC § 12182.
 14         30.    Plaintiff is a qualified individual with a disability as defined in the
 15   Rehabilitation Act and in the Americans with Disabilities Act of 1990.
 16         31.     North Hollywood Spa is a public accommodation within the meaning
 17   of Title III of the ADA. 42 U.S.C. § 12181(7)(L).
 18         32.    The ADA prohibits, among other types of discrimination, “failure to
 19   make reasonable modifications in policies, practices or procedures when such
 20   modifications are necessary to afford such goods, services, facilities, privileges,
 21   advantages or accommodations to individuals with disabilities.” 42 U.S.C. §
 22   12182(b)(2)(A)(ii).
 23         33.    Under the “2010 Revised ADA Requirements: Service Animals,” as
 24   published by the United States Department of Justice, and distributed by the DOJ’s
 25   Civil Rights Division, Disability Rights Section, “Generally, title II and title III
 26   entities must permit service animals to accompany people with disabilities in all
 27   areas where members of the public are allowed to go.” ADA 2010 Revised
 28   Requirements, www.ada.gov/service -animals-2010.htm Further,

                                                   10
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1 Filed 09/23/24           Page 11 of 23 Page ID
                                       #:11


  1          Under the ADA, State and local governments, businesses, and
             nonprofit organizations that serve the public generally must allow
  2          service animals to accompany people with disabilities in all areas of
             the facility where the public is normally allowed to go.
  3

  4
      Ibid., emphasis in original.

  5
             34.    Defendant has a policy and practice of denying treatment and services

  6
      to patrons with service animals at North Hollywood Spa. This is contrary to the

  7
      ADA. The Department of Justice issued guidance on the subject of “Service

  8
      Animals.” In relevant part, the guidance states:
         •   A person with a disability cannot be asked to remove his service
  9
 10
             animal from the premises unless: (1) the dog is out of control and the

 11
             handler does not take effective action to control it or (2) the dog is not

 12
             housebroken. When there is a legitimate reason to ask that a service

 13
             animal be removed, staff must offer the person with the disability the

 14
             opportunity to obtain goods or services without the animal’s presence.

 15
      DOJ 2010 “Service Animal” guidance available at

 16
      https://www.ada.gov/resources/service-animals-2010-requirements/ (emphasis

 17
      added).

 18
             35.    On information and belief, as of the date of Plaintiff’s most recent

 19
      visits to North Hollywood Spa on or about August 17, 2024, and September 1,

 20
      2024, Defendant continues to deny full and equal access to Plaintiff and to

 21
      discriminate against Plaintiff on the basis of Plaintiff’s disabilities, thus wrongfully

 22
      denying to Plaintiff the full and equal enjoyment of the goods, services, facilities,

 23
      privileges, advantages and accommodations of Defendant’s premises, in violation

 24
      of the ADA.

 25
             36.    In passing the Americans with Disabilities Act of 1990 (hereinafter

 26
      “ADA”), Congress stated as its purpose:

 27                 It is the purpose of this Act
             (1) to provide a clear and comprehensive national mandate for the
 28          elimination of discrimination against individuals with disabilities;

                                                   11
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1 Filed 09/23/24           Page 12 of 23 Page ID
                                       #:12


  1         (2) to provide clear, strong, consistent, enforceable standards addressing
            discrimination against individuals with disabilities;
  2
            (3) to ensure that the Federal Government plays a central role in enforcing
  3         the standards established in this Act on behalf of individuals with disabilities;
            and
  4
           (4) to invoke the sweep of congressional authority, including the power to
  5        enforce the fourteenth amendment and to regulate commerce, in order to
           address the major areas of discrimination faced day-to-day by people with
  6        disabilities.
  7   42 USC § 12101(b).
  8
            37.    As part of the ADA, Congress passed “Title III - Public

  9
      Accommodations and Services Operated by Private Entities” (42 USC § 12181 et

 10
      seq.). The subject property and facility are one of the “private entities” which are

 11
      considered “public accommodations” for purposes of this title, which includes any

 12
      “gymnasium, health spa, bowling alley, golf course, or other place of exercise or

 13
      recreation.” 42 USC § 12181(7)(L).

 14
            38.    The ADA states that “No individual shall be discriminated against on

 15
      the basis of disability in the full and equal enjoyment of the goods, services,

 16
      facilities, privileges, advantages, or accommodations of any place of public

 17
      accommodation by any person who owns, leases, or leases to, or operates a place of

 18
      public accommodation.” 42 U.S.C. § 12182. The specific prohibitions against

 19
      discrimination include, but are not limited to the following:

 20
      § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory

 21
      to afford an individual or class of individuals, on the basis of a disability or

 22
      disabilities of such individual or class, directly, or through contractual, licensing, or

 23
      other arrangements, with the opportunity to participate in or benefit from a good,

 24
      service, facility, privilege, advantage, or accommodation that is not equal to that

 25
      afforded to other individuals.”

 26
      § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies,

 27
      practices, or procedures when such modifications are necessary to afford such

 28
      goods, services, facilities, privileges, advantages, or accommodations to individuals

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                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR        Document 1 Filed 09/23/24           Page 13 of 23 Page ID
                                        #:13


  1   with disabilities...;”
  2   § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure
  3   that no individual with a disability is excluded, denied service, segregated, or
  4   otherwise treated differently than other individuals because of the absence of
  5   auxiliary aids and services...;”
  6   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and
  7   communication barriers that are structural in nature, in existing facilities... where
  8   such removal is readily achievable;”
  9   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier
 10   under clause (iv) is not readily achievable, a failure to make such goods, services,
 11   facilities, privileges, advantages, or accommodations available through alternative
 12   methods if such methods are readily achievable.”
 13          The acts and omissions of Defendant set forth herein were in violation of
 14   Plaintiff’s rights under the ADA and the regulations promulgated thereunder, 28
 15   C.F.R. Part 36 et seq.
 16          39.     The removal of each of the policy barriers complained of by Plaintiff
 17   as hereinabove alleged, were at all times herein mentioned “readily achievable”
 18   under the standards of sections 12181 and 12182 of the ADA. As noted
 19   hereinabove, removal of each and every one of the policy barriers complained of
 20   herein were already required under California law. In the event that removal of any
 21   barrier is found to be “not readily achievable,” Defendant still violated the ADA,
 22   per section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges,
 23   advantages and accommodations through alternative methods that were “readily
 24   achievable.”
 25          40.     On information and belief, as of the dates of Plaintiff’s encounters at
 26   the premises and as of the filing of this Complaint, Defendant’s actions, policies,
 27   and physical premises have denied and continue to deny full and equal access to
 28   Plaintiff and to other disabled persons who work with service dogs, which violates

                                                    13
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1 Filed 09/23/24           Page 14 of 23 Page ID
                                       #:14


  1   Plaintiff’s right to full and equal access and which discriminates against Plaintiff on
  2   the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
  3   enjoyment of the goods, services, facilities, privileges, advantages and
  4   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.
  5         41.    Defendant’s actions continue to deny Plaintiff’s rights to full and equal
  6   access by deterring Plaintiff from patronizing North Hollywood Spa and
  7   discriminated and continue to discriminate against Plaintiff on the basis of his
  8   disabilities, thus wrongfully denying to Plaintiff the full and equal enjoyment of
  9   Defendant’s goods, services, facilities, privileges, advantages and accommodations,
 10   in violation of section 12182 of the ADA. 42 U.S.C. § 12182.
 11         42.    Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections
 12   12188 et seq., Plaintiff is entitled to the remedies and procedures set forth in
 13   section 204(a) of the Civil Rights Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is
 14   being subjected to discrimination on the basis of his disabilities in violation of
 15   sections 12182 and 12183. On information and belief, Defendant has continued to
 16   violate the law and deny the rights of Plaintiff and other disabled persons to “full
 17   and equal” access to this public accommodation since on or before Plaintiff’s
 18   encounters. Pursuant to section 12188(a)(2)
 19         [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)...
            injunctive relief shall include an order to alter facilities to make such
 20         facilities readily accessible to and usable by individuals with disabilities
            to the extent required by this title. Where appropriate, injunctive relief
 21         shall also include requiring the provision of an auxiliary aid or service,
            modification of a policy, or provision of alternative methods, to the
 22         extent required by this title.
 23         43.    Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of
 24   the Civil Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal
 25   Regulations adopted to implement the Americans with Disabilities Act of 1990.
 26   Plaintiff is a qualified disabled person for purposes of § 12188(a) of the ADA who
 27   is being subjected to discrimination on the basis of disability in violation of Title III
 28   and who has reasonable grounds for believing he will be subjected to such

                                                   14
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR        Document 1 Filed 09/23/24           Page 15 of 23 Page ID
                                        #:15


  1   discrimination each time that he may use the property and premises, or attempt to
  2   patronize North Hollywood Spa, in light of Defendant’s policies barriers.
  3           WHEREFORE, Plaintiff prays for relief as hereinafter stated.
  4
                             SECOND CAUSE OF ACTION:
  5             VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH
               ACT, CIVIL CODE SECTIONS 51 AND 52, AND THE AMERICANS
  6                   WITH DISABILITIES ACT AS INCORPORATED
                             BY CIVIL CODE SECTION 51(f)
  7
              44.   Plaintiff re-pleads and incorporates by reference, as if fully set forth
  8
      again herein, the allegations contained in Paragraphs 1 through 43 of this
  9
      Complaint and incorporates them herein as if separately re-pleaded.
 10
              45.   At all times relevant to this action, the Unruh Civil Rights Act,
 11
      California Civil Code § 51(b), provided that:
 12
              All persons within the jurisdiction of this state are free and equal, and
 13           no matter what their sex, race, color, religion, ancestry, national origin,
              disability, or medical condition are entitled to the full and equal
 14           accommodations, advantages, facilities, privileges, or services in all
              business establishments of every kind whatsoever.
 15
              46.   California Civil Code section 52 provides that the discrimination by
 16
      Defendant against Plaintiff on the basis of disability constitutes a violation of the
 17
      general anti-discrimination provisions of sections 51 and 52.
 18
              47.   Each of Defendant’s discriminatory acts or omissions constitutes a
 19
      separate and distinct violation of California Civil Code section 52, which provides
 20
      that:
 21           Whoever denies, aids or incites a denial, or makes any discrimination
              or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
 22           every offense for the actual damages, and any amount that may be
              determined by a jury, or a court sitting without a jury, up to a maximum
 23           of three times the amount of actual damage but in no case less than four
              thousand dollars ($4,000), and any attorney’s fees that may be
 24           determined by the court in addition thereto, suffered by any person
              denied the rights provided in Section 51, 51.5, or 51.6.
 25
              48.   Any violation of the Americans with Disabilities Act of 1990
 26
      constitutes a violation of California Civil Code section 51(f), thus independently
 27
      justifying an award of damages and injunctive relief pursuant to California law,
 28

                                                    15
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1 Filed 09/23/24           Page 16 of 23 Page ID
                                       #:16


  1   including Civil Code section 52. Per Civil Code section 51(f), “A violation of the
  2   right of any individual under the Americans with Disabilities Act of 1990 (Public
  3   Law 101-336) shall also constitute a violation of this section.”
  4         49.    The actions and omissions of Defendant as herein alleged constitute a
  5   denial of access to and use of the described public facilities by disabled persons
  6   who use service dogs within the meaning of California Civil Code sections 51 and
  7   52. As a proximate result of Defendant’s action and omissions, Defendant has
  8   discriminated against Plaintiff in violation of Civil Code sections 51 and 52, and are
  9   responsible for statutory and compensatory to Plaintiff, according to proof.
 10         50.    FEES AND COSTS: As a result of Defendant’s acts, omissions and
 11   conduct, Plaintiff has been required to incur attorney fees, litigation expenses and
 12   costs as provided by statute in order to enforce Plaintiff’s rights and to enforce
 13   provisions of law protecting access for disabled persons and prohibiting
 14   discrimination against disabled persons. Plaintiff therefore seeks recovery of all
 15   reasonable attorney fees, litigation expenses and costs pursuant to the provisions of
 16   California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is
 17   intended to require that Defendant make its facilities and policies accessible to all
 18   disabled members of the public, justifying “public interest” attorney fees, litigation
 19   expenses and costs pursuant to the provisions of California Code of Civil Procedure
 20   section 1021.5 and other applicable law.
 21         51.    Plaintiff suffered damages as above-described as a result of
 22   Defendant’s violations.
 23         WHEREFORE, Plaintiff prays for relief as hereinafter stated.
 24                        THIRD CAUSE OF ACTION:
                         DAMAGES AND INJUNCTIVE RELIEF
 25               FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC
                      FACILITIES IN A PUBLIC ACCOMMODATION
 26                             (Civil Code §§ 54 et seq.)
 27         52.    Plaintiff re-pleads and incorporates by reference, as if fully set forth
 28   hereafter, the factual allegations contained in Paragraphs 1 through 51 of this

                                                   16
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR        Document 1 Filed 09/23/24           Page 17 of 23 Page ID
                                        #:17


  1   Complaint and all paragraphs of the third cause of action, as plead infra,
  2   incorporates them herein as if separately re-pleaded.
  3          53.    Under the California Disabled Persons Act (CDPA), people with
  4   disabilities are entitled to the “full and free use of . . . public buildings, . . . public
  5   facilities, and other public places.” Civil Code § 54(a).
  6          54.    Civil Code section 54.1(a)(1) further guarantees the right of “full and
  7   equal access” by persons with to “accommodations, advantages, facilities, medical
  8   facilities, including hospitals, clinics, and physicians' offices…or other places to
  9   which the general public is invited.” Civil Code § 54.1(c) also specifies that,
 10   “individuals with a disability and persons authorized to train service dogs for
 11   individuals with a disability, may take dogs, for the purpose of training them as
 12   guide dogs, signal dogs, or service dogs in any of the places specified in
 13   subdivisions (a) and (b).”
 14          55.    Civil Code section 54.2(a) specifically protects the right of “every
 15   individual with a disability” “to be accompanied by a guide dog, signal dog, or
 16   service dog, especially trained for the purpose, in any of the places specified in
 17   Section 54.1.”
 18          56.    Civil Code section 54.3(b) makes liable “Any person or persons, firm
 19   or corporation who denies or interferes with admittance to or enjoyment of the
 20   public facilities as specified in Sections 54 and 54.1 or otherwise interferes with the
 21   rights of an individual with a disability under Sections 54, 54.1 and 54.2.” This
 22   section also specifies that, “‘[I]nterfere,’ for purposes of this section, includes, but
 23   is not limited to, preventing or causing the prevention of a guide dog, signal dog, or
 24   service dog from carrying out its functions in assisting a disabled person.”
 25          57.    Defendant is also in violation of California Penal Code section
 26   365.5(b) which states:
 27          No blind person, deaf person, or disabled person and his or her specially
             trained guide dog, signal dog, or service dog shall be denied admittance
 28          to accommodations, advantages, facilities, medical facilities, including

                                                    17
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1 Filed 09/23/24           Page 18 of 23 Page ID
                                       #:18


  1         hospitals, clinics, and physicians’ offices, telephone facilities, adoption
            agencies, private schools, hotels, lodging places, places of public
  2         accommodation, amusement or resort, and other places to which the
            general public is invited within this state because of that guide dog,
  3         signal dog, or service dog.
  4         58.     North Hollywood Spa is a public accommodation within the meaning
  5   of the CDPA. On information and belief, Defendant is the owner, operator, lessor
  6   or lessee of the public accommodation.
  7         59.     Defendant made the decision to knowingly and willfully exclude
  8   Plaintiff and his service dog from their public accommodation and thereby deny
  9   Plaintiff’s his right of entrance into their place of business with his service dog. As
 10   a result of that decision Plaintiff has faced the continuing discrimination of being
 11   essentially barred from entering this public accommodation and place of business
 12   based upon Defendant’s exclusion of Plaintiff’s legally protected use of his service
 13   dog. Plaintiff has continued to suffer denial of access to these facilities, and he
 14   faces the prospect of unpleasant and discriminatory treatment should he attempt to
 15   return to these facilities. Plaintiff is unable to return to North Hollywood Spa until
 16   he receives the protection of this Court’s injunctive relief, and he has continued to
 17   suffer discrimination on a daily basis since August 17, 2024, all to his statutory
 18   damages pursuant to California Civil Code §§ 54.1, 54.2, and 54.3 and California
 19   Penal Code section 365.5.
 20         60.    INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit
 21   the acts and omissions of Defendant as complained of herein which are continuing
 22   on a day-to-day basis and which have the effect of wrongfully excluding Plaintiff
 23   and other members of the public who are disabled and who require the assistance of
 24   service animals from full and equal access to these public facilities. Such acts and
 25   omissions are the cause of humiliation and mental and emotional suffering of
 26   Plaintiff in that these actions continue to treat Plaintiff as an inferior and second-
 27   class citizen and serve to discriminate against him on the sole basis that Plaintiff is
 28   a person with disabilities who requires the assistance of a service animal.

                                                   18
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1 Filed 09/23/24           Page 19 of 23 Page ID
                                       #:19


  1         61.    Plaintiff wishes to return to patronize North Hollywood Spa but is
  2   deterred from returning to use these facilities, because the lack of access and the
  3   significant policy barriers will foreseeably cause him further difficulty, discomfort
  4   and embarrassment, and Plaintiff is unable, so long as such acts and omissions of
  5   Defendant continues, to achieve equal access to and use of these public facilities.
  6   Therefore, Plaintiff cannot return to patronize North Hollywood Spa and its
  7   facilities and is deterred from further patronage until these facilities are made
  8   properly accessible for disabled persons, including Plaintiff and other disabled
  9   individuals who require the assistance of a service animal.
 10         62.    The acts of Defendant have proximately caused and will continue to
 11   cause irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks
 12   injunctive relief as to Defendant’s inaccessible policies. As to the Defendant that
 13   currently owns, operates, and/or leases (from or to) the subject premises, Plaintiff
 14   seeks preliminary and permanent injunctive relief to enjoin and eliminate the
 15   discriminatory practices that deny full and equal access for disabled persons and
 16   those associated with them, and seeks an award of reasonable statutory attorney
 17   fees, litigation expenses and costs.
 18         63.    Wherefore Plaintiff asks this Court to preliminarily and permanently
 19   enjoin any continuing refusal by Defendant to grant full and equal access to
 20   Plaintiff in the ways complained of and to require Defendant to comply forthwith
 21   with the applicable statutory requirements relating to access for disabled persons.
 22   Such injunctive relief is provided by California Civil Code sections 54.1, 54.2 and
 23   55, and other laws. Plaintiff further requests that the Court award damages
 24   pursuant to Civil Code section 54.3 and other law and attorney fees, litigation
 25   expenses, and costs pursuant to Civil Code sections 54.3 and 55, Code of Civil
 26   Procedure section 1021.5 and other law, all as hereinafter prayed for.
 27         64.    DAMAGES: As a result of the denial of full and equal access to the
 28   described facilities and due to the acts and omissions of Defendant in owning,

                                                   19
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR       Document 1 Filed 09/23/24           Page 20 of 23 Page ID
                                       #:20


  1   operating, leasing, constructing, altering, and/or maintaining the subject facilities,
  2   Plaintiff has suffered a violation of his civil rights, including but not limited to
  3   rights under Civil Code sections 54 and 54.1, and has suffered difficulty,
  4   discomfort and embarrassment, and physical, mental and emotional personal
  5   injuries, all to his damages per Civil Code section 54.3, including general and
  6   statutory damages, as hereinafter stated. Defendant’s actions and omissions to act
  7   constitute discrimination against Plaintiff on the basis that he was and is disabled
  8   and unable, because of the policy barriers created and/or maintained by the
  9   Defendant in violation of the subject laws, to use the public facilities on a full and
 10   equal basis as other persons. The violations have deterred Plaintiff from returning
 11   to attempt to patronize North Hollywood Spa and will continue to cause him
 12   damages each day these barriers to access and policy barriers continue to be
 13   present.
 14         65.     Although it is not necessary for Plaintiff to prove wrongful intent in
 15   order to show a violation of California Civil Code sections 54 and 54.1 or of Title
 16   III of the ADA (see Donald v. Café Royale, 218 Cal. App. 3d 168 (1990)),
 17   Defendant’s behavior was intentional. Defendant was aware and/or was made
 18   aware of its duties to refrain from establishing discriminatory policies against
 19   disabled persons, prior to the filing of this complaint. Defendant’s establishment of
 20   its discriminatory policy to deny and restrict entry to persons with service dogs, and
 21   its implementation of such a discriminatory policy against Plaintiff, indicate actual
 22   and implied malice toward Plaintiff and conscious disregard for Plaintiff’s rights
 23   and safety.
 24         66.     FEES AND COSTS: As a result of Defendant’s acts, omissions, and
 25   conduct, Plaintiff has been required to incur attorney fees, litigation expenses, and
 26   costs as provided by statute, in order to enforce Plaintiff’s rights and to enforce
 27   provisions of the law protecting access for disabled persons and prohibiting
 28   discrimination against disabled persons. Plaintiff therefore seeks recovery of all

                                                   20
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR        Document 1 Filed 09/23/24           Page 21 of 23 Page ID
                                        #:21


  1   reasonable attorney fees, litigation expenses, and costs, pursuant to the provisions
  2   of Civil Code sections 54.3 and 55. Additionally, Plaintiff’s lawsuit is intended to
  3   require that Defendant make its facilities accessible to all disabled members of the
  4   public, justifying “public interest” attorney fees, litigation expenses and costs
  5   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and
  6   other applicable law.
  7         67.      Plaintiff suffered damages as above described as a result of
  8   Defendant’s violations. Damages are ongoing based on their deterrence from
  9   returning to North Hollywood Spa.
 10         WHEREFORE, Plaintiff prays for relief as hereinafter stated.
 11                                            PRAYER
 12         Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
 13   forth in this Complaint. Plaintiff has suffered and will continue to suffer
 14   irreparable injury as a result of the unlawful acts, omissions, policies, and practices
 15   of the Defendant as alleged herein, unless Plaintiff is granted the relief he requests.
 16   Plaintiff and Defendant have an actual controversy and opposing legal positions as
 17   to Defendant’s violations of the laws of the United States and the State of
 18   California. The need for relief is critical because the rights at issue are paramount
 19   under the laws of the United States and the State of California.
 20         WHEREFORE, Plaintiff Jason Duchan prays for judgment and the
 21   following specific relief against Defendant:
 22         1.       An order enjoining Defendant, its agents, officials, employees, and all
 23   persons acting in concert with them:
 24               a. From continuing the unlawful acts, conditions, and practices described
 25                  in this Complaint;
 26               b. To modify its policies and practices to accommodate service dog users
 27                  in conformity with federal and state law, and to advise Plaintiff that his
 28                  service dog will not be excluded should he desire to enter and

                                                    21
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR        Document 1 Filed 09/23/24           Page 22 of 23 Page ID
                                        #:22


  1                 patronize North Hollywood Spa;
  2              c. That the Court issue preliminary and permanent injunction directing
  3                 Defendant as current owner, operator, lessor, and/or lessee and/or its
  4                 agents of the subject property and premises to modify the above
  5                 described property, premises, policies and related policies and
  6                 practices to provide full and equal access to all persons, including
  7                 persons with disabilities; and issue a preliminary and permanent
  8                 injunction pursuant to ADA section 12188(a) and state law directing
  9                 Defendant to provide facilities usable by Plaintiff and similarly
 10                 situated persons with disabilities and which provide full and equal
 11                 access, as required by law, and to maintain such accessible facilities
 12                 once they are provided and to train Defendant’s employees and agents
 13                 in how to recognize disabled persons and accommodate their rights
 14                 and needs;
 15              d. An order retaining jurisdiction of this case until Defendant have fully
 16                 complied with the orders of this Court, and there is a reasonable
 17                 assurance that Defendant will continue to comply in the future absent
 18                 continuing jurisdiction;
 19         2.      An award to Plaintiff of statutory, actual, general, and punitive
 20   damages in amounts within the jurisdiction of the Court, all according to proof;
 21         3.      An award of civil penalty as against Defendant under California Penal
 22   Code § 365.5(c);
 23         4.      An award to Plaintiff pursuant to 42 U.S.C. § 12205, 29 U.S.C. § 794a,
 24   California Civil Code §§ 52 and 54.3, California Code of Civil Procedure § 1021.5,
 25   and as otherwise permitted by law, of the costs of this suit and reasonable attorneys’
 26   fees and litigation expenses;
 27         5.      An award of prejudgment interest pursuant to Civil Code § 3291;
 28         6.      Interest on monetary awards as permitted by law; and

                                                    22
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 2:24-cv-08137-PA-AGR      Document 1 Filed 09/23/24           Page 23 of 23 Page ID
                                      #:23


  1         7.     Grant such other and further relief as this Court may deem just and
  2   proper.
  3   Date: September 23, 2024                         REIN & CLEFTON
  4
                                                          /s/ Aaron M. Clefton
  5                                                    By AARON M. CLEFTON, Esq.
  6                                                    Attorneys for Plaintiff
                                                       JASON DUCHAN
  7                                     JURY DEMAND
  8         Plaintiff hereby demands a trial by jury for all claims for which a jury is
  9   permitted.
 10   Date: September 23, 2024                         REIN & CLEFTON
 11
                                                          /s/ Aaron M. Clefton
 12
                                                       By AARON M. CLEFTON, Esq.
 13                                                    Attorneys for Plaintiff
                                                       JASON DUCHAN
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                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
